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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                           Case No. 9:18–CV–81147–BLOOM–REINHART

  UNITED STATES OF AMERICA,                     )
                                                )
            Plaintiff,                          )
                                                )
            v.                                  )
                                                )
  ISAC SCHWARZBAUM,                             )
                                                )
            Defendant.                          )
                                                )

                         DEFENDANT’S RESPONSE TO UNITED STATES’
                          MOTION TO REPATRIATE FOREIGN ASSETS

            The United States asks this Court to order Isac Schwarzbaum to transfer his funds, nearly
  all of which have always resided in Switzerland and have never been in this country, to the United
  States to satisfy a standard money judgment that is the subject of an ongoing appeal. The request
  is unprecedented and not supported by the law or facts in this case, and thus should be summarily
  denied.
                 I.   Background
            The United States brought this action to recover civil FBAR penalties against Mr.
  Schwarzbaum for failure to report fully his interests in foreign bank accounts between 2006-2009
  on a Report of Foreign Bank and Financial Accounts (FBAR). Following a five-day bench trial,
  this Court rejected the United States’ attempt to characterize Mr. Schwarzbaum’s conduct as a
  knowing and intentional tax evasion scheme. Instead, this Court concluded that Mr. Schwarzbaum
  “did not knowingly violate the FBAR reporting requirements.” ECF No. 92, p.15. This Court
  determined that Mr. Schwarzbaum’s violation for 2006 was non-willful, and yet despite the lack
  of a knowing violation, this Court concluded that his 2007-2009 reporting violations were willful
  based on recklessness. Id. at 18-22.
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          II.    Mr. Schwarzbaum Appealed the Underlying Assessment and the United
                 States’ Motion is Merely a Disguised Attempt to Compel Him to Post an
                 Appeal Bond

         Mr. Schwarzbaum filed his notice of appeal on June 3, 2020, ECF No. 100, challenging,
  among other issues, the validity of the underlying assessment for which the United States now
  seeks a repatriation order. The Eleventh Circuit has jurisdiction to hear Mr. Schwarzbaum’s appeal
  and he need not post an appeal bond for his appeal to be heard. 28 U.S.C. § 1291. Yet that is what
  the United States seems to suggest with its motion. Specifically, the United States requests that
  “Schwarzbaum be ordered to repatriate the funds requested by way of an appeal bond under L.R.
  62.1.” ECF No. 115, p.14, n.13. (Emphasis added).
         Initially, Mr. Schwarzbaum argued that the IRS’s FBAR penalty assessments violated the
  Administrative Procedure Act; thus, they must be set aside and the issue remanded to the IRS.
  This Court agreed that the penalties were not in accordance with the law and set aside the original
  FBAR penalty assessments for the IRS’s failure to abide by the FBAR civil penalty statute. ECF
  No. 92, p.25. However, instead of remanding the matter back to the IRS, this Court calculated
  new FBAR assessments in the amount of $12,907,952 for the 2007-2009 reporting years. ECF
  No. 98. The new penalty assessments were reduced to $12,555,813 plus penalties and interest
  upon this Court’s granting of the United States’ Rule 59(e) motion to amend the judgment. ECF
  No. 104. Mr. Schwarzbaum filed an amended notice of appeal on September 10, 2020 after the
  amended final judgment was entered. ECF No. 106.
         In his post-trial briefs and on appeal, Mr. Schwarzbaum argues that after concluding the
  assessments violated the statute and should be set aside, this Court should remand the matter back
  to the IRS for further action. ECF No. 94, p.9. At least one court agrees with Mr. Schwarzbaum.
  See United States v. Gentges, -- F. Supp. 3d --, No. 7:18-cv-07910-KMK, 2021 WL 1222764 at
  *16 (S.D.N.Y. Mar. 31, 2021) (determining that use of non-June 30 account balances was “an
  arbitrary expedient” and setting aside invalid FBAR penalty assessment). Relying on Supreme
  Court precedent, the Gentges court remanded the matter to the IRS for further attention. Id.
  (Quoting Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985) (after a finding of arbitrary
  and capricious conduct, “the proper course … is to remand to the agency for additional
  investigation or explanation.”). It is not a coincidence the United States filed its motion seeking a
  repatriation order following the Gentges decision. The motion is nothing more than a thinly-

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  veiled collateral attack to frustrate Mr. Schwarzbaum’s appeal, which has been pending for more
  than a year.
         III.    Mr. Schwarzbaum Has Always Kept the Substantial Balance of His Liquid
                 Assets Outside the United States
         Repatriate means “to restore or return to the country of origin, allegiance, or citizenship.”
  Repatriate Definition, Merriam-Webster.com, https://www.merriam-webster.com /dictionary/
  repatriate (emphasis added). Courts have recognized the validity of using a dictionary to define
  the meaning of common words. See Taniguchi v. Kan Pac. Saipan, Ltd., 566 U.S. 560 (2012).
  Simply stated, Mr. Schwarzbaum cannot repatriate funds to the United States when those funds
  never left Switzerland to begin with—a fact of which the government is keenly aware. Mr.
  Schwarzbaum did not transfer funds out of the United States to frustrate the government’s
  collection efforts as nearly all of his wealth has been held in Swiss banks since Mr. Schwarzbaum’s
  German/Swiss father deposited such funds in those same banks decades ago. Schwarzbaum Decl.
  ¶¶ 1, 3, attached as Exhibit A.
         From the time he was first gifted a foreign bank account by his father in or around 2001,
  nearly all of Mr. Schwarzbaum’s assets remained in Switzerland, one of the jurisdictions in which
  he resided and spent considerable time each year. Id. at ¶¶ 2, 3. The year 2020 was not the first
  time Mr. Schwarzbaum transferred funds from the United States to Switzerland in furtherance of
  relocation. Mr. Schwarzbaum transferred most of his limited U.S-situs funds to Switzerland in
  2009 because his family moved there after the birth of his daughter—five years before the penalties
  at issue in this case were first imposed and seven years before the IRS’s arbitrary penalty
  assessment. Id. at ¶ 4; ECF No. 92, p.11; Jt. Tr. Ex. 2 . In fact, the only notable funds transferred
  to Switzerland during the pendency of this litigation were the exempt proceeds from the 2020 sale
  of his Florida homestead, Fla. Const. art. X, § 4, which is understandable considering Mr.
  Schwarzbaum had already moved his family to Switzerland. Id. at ¶ 5.
         The government’s statement that Mr. Schwarzbaum should be compelled to transfer over
  $18 million to the United States as reimbursement for the IRS’s investigatory costs, ECF No. 115,
  pp.7, 12, conveniently ignores the fact that Mr. Schwarzbaum voluntarily disclosed his foreign
  assets through participation in the IRS’s Offshore Voluntary Disclosure Initiative and provided
  extensive financial records to the IRS. ECF No. 92, p.10.


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          IV.     Repatriation Orders Are Reserved For Tax Liabilities and Disgorgement
          Repatriation orders are used by the Internal Revenue Service (IRS) to collect outstanding
  tax liabilities. In fact, an outstanding tax liability is the first condition for seeking a repatriation
  order. The Internal Revenue Manual provides that repatriation orders are used when a taxpayer
  “transferred assets to a foreign country” and the repatriation order must show, inter alia, “an
  outstanding tax liability.” I.R.M. 5.21.3.6(2) (01-07-2016) (emphasis added). An agency is
  compelled to follow its guidelines and procedures. Gentges, -- F. Supp. 3d --, No. 7:18-cv-07910-
  KMK, 2021 WL 1222764 at *16 (S.D.N.Y. Mar. 31, 2021) (quoting Salazar v. King, 822 F.3d 61,
  76 (2d Cir. 2016) (“[W]here the rights of individuals are affected, it is incumbent upon agencies
  to follow their own procedures.”). The IRM is “persuasive authority,” Griswold v. United States,
  59 F.3d 1571, 1576, n.8 (11th Cir. 1995) (citing Anderson v. United States, 44 F.3d 795, 799 (9th
  Cir. 1995), and courts can look to the IRM provisions for guidance even though the IRM does not
  creates rights for individuals. See Estate of Duncan v. Comm’r, 890 F.3d 192 (5th Cir. 2018). It
  is undisputed that Mr. Schwarzbaum does not have an outstanding tax liability.
          The cases cited by the United States reinforce asset repatriation as a remedy for collecting
  income tax liabilities. In United States v. McNulty, 446 F.Supp. 90 (N.D. Cal. 1978), the taxpayer
  failed to pay U.S. income tax on sweepstakes winnings he deposited in a foreign bank account. In
  granting the repatriation order, the court cited United States v. First National City Bank, 379 U.S.
  378 (1965), in which the Supreme Court sustained a temporary injunction freezing the assets of a
  foreign corporation to prevent dissipation of assets. Similarly, in United States v. Ross, 196 F.
  Supp. 243 (S.D.N.Y. 1961), the taxpayer was subject to jeopardy assessments with respect to
  asserted income tax liabilities and the court ordered him to transfer stock certificates to the court-
  appointed receiver.
          Legal principles related to jeopardy assessments are instructive to the issuance of a
  repatriation order pending appeal. The IRS is authorized to make an immediate assessment of tax,
  interest, and penalties if the IRS believes assessment or collection will be jeopardized by delay.
  26 U.S.C. § 6861(a). Conditions on which the jeopardy assessment can be made are if a taxpayer
  appears to be designing to quickly depart from the United States or appears to be placing property
  beyond the reach of the U.S. government. 26 C.F.R. §§ 301.6861-1(a); 1.6851-1(a).
          The IRS’s ability to make jeopardy assessment is not unrestrained. Jeopardy assessments
  are an extraordinary remedy to be used sparingly. See Lindholm v. United States, 808 F. Supp. 3
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  (D.D.C. 1992). In Lindholm, the court abated a jeopardy assessment of more than $72 million
  against an individual whom the IRS alleged was moving assets offshore to prevent collection and
  was a flight risk because he surrendered his “green card.” The court concluded that despite holding
  assets through a complex structure, the taxpayer was not hiding any assets and the loss of his green
  card made him no greater of a flight risk due to his highly-mobile lifestyle. Further, the court
  denied the IRS’s motions for reconsideration and stay pending appeal, concluding that although
  tax collection is in the public interest, the government’s “interests were not imperiled sufficiently
  to justify the extraordinary measure of jeopardy assessment” but that the taxpayer “may endure
  substantial harm to his financial interests” if his assets were encumbered during the pendency of
  an appeal. Lindholm v. United States, 808 F. Supp. 7 (D.D.C. 1992).
         A repatriation order against Mr. Schwarzbaum is inappropriate much like the jeopardy
  assessment in Lindholm. Mr. Schwarzbaum leads a highly-mobile lifestyle and is not hiding any
  assets from the government—a fact demonstrated by his continued FBAR filings (to which the
  United States has full access and used as a basis for its motion).
         Unlike the taxpayers in McNulty, Ross, and First Nat’l City Bank, Mr. Schwarzbaum does
  not owe the United States any income tax nor is he subject to any jeopardy assessments. Further,
  Mr. Schwarzbaum’s income is derived solely from his financial investments made exclusively
  through his Swiss accounts and those accounts represent the entirety of his family legacy to his
  children; thus, there is no risk, and the United States can show no evidence, that Mr. Schwarzbaum
  will dissipate his assets if the motion is denied. Mr. Schwarzbaum's assets remain where they have
  always been - in Switzerland.
         Repatriation is ordered in non-tax cases under limited circumstances, such as disgorgement
  of ill-gotten gains as a result of fraudulent or deceptive conduct. In Sec. Exch. Comm’n v. Aragon
  Cap. Advisors, LLC, 2011 WL 3278907 (S.D.N.Y. 2011), the court ordered repatriation of assets
  located outside the United States in order to disgorge ill-gotten gains and pay civil penalties in
  connection with the defendant’s violation of federal securities laws for insider trading. Similarly,
  in Fed. Trade Comm’n v. Affordable Media, LLC, 179 F.3d 1228 (9th Cir. 1999), the court issued
  a preliminary injunction requiring repatriation of assets held outside the United States. In
  Affordable Media, the defendants engaged in a fraudulent telemarketing investment scheme and
  subsequently transferred such fraudulent gains to a Cook Islands trust. Id. at 1232. The court


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  noted the purpose of the asset protection trust was to move wealth to a foreign jurisdiction to
  frustrate the U.S. court system. Id. at 1240.
         This Court acknowledged the difference between disgorgement of ill-gotten gains and
  recovery of a civil money judgment. In Branch Banking and Trust Co. v. Hamilton Greens, LLC,
  2014 WL 1603759 (S.D. Fla. 2014), the Court denied a contempt motion against a defendant who
  transferred nearly $2 million to an offshore trust several months after the lawsuit was filed.
  Denying the plaintiff’s argument that noncompliance was self-created by the defendant, the Court
  reasoned that “federal courts have more power to enforce compliance with a disgorgement order
  than they do with a standard money judgment.” Id. at *3.
         Similar to Branch Banking and Trust, the United States is seeking a repatriation order to
  satisfy a standard money judgment. Mr. Schwarzbaum did not engage in any fraudulent, deceptive
  conduct like the defendants in Aragon Cap. Advisors. Nor did Mr. Schwarzbaum engage in a
  fraudulent investment scheme like the defendants in Affordable Media. A repatriation order is not
  warranted to satisfy a standard money judgment that is the subject of an ongoing appeal.
         The Federal Debt Collection Procedure Act (FDCPA) provides the exclusive means by
  which the United States can collect an FBAR penalty judgment. See 28 U.S.C. § 3001(a).
  Judgment liens and garnishment are among the collection tools provided by the FDCPA, which
  significantly, contains no repatriation provision.
           V.    Conclusion
         The money judgment against Mr. Schwarzbaum is not based on an income tax liability due
  the United States. Nor has Mr. Schwarzbaum engaged in any fraudulent, deceptive conduct for
  which he received any ill-gotten gains. Mr. Schwarzbaum did not transfer funds offshore to
  frustrate the United States collection efforts. Since he obtained his first Swiss bank account, nearly
  all of Mr. Schwarzbaum’s funds have been held in Switzerland and never left the custody of the
  Swiss banks. The one transfer to Switzerland consisted of the exempt net proceeds from the sale
  of his Florida homestead. A repatriation order against Mr. Schwarzbaum is not warranted under
  these circumstances.
         Mr. Schwarzbaum has appealed this Court’s amended final judgment to the Eleventh
  Circuit Court of Appeals and the issues have been fully briefed. Mr. Schwarzbaum appealed,
  among other issues, the validity of the underlying assessment for which the United States seeks an
  improper repatriation order. Should Mr. Schwarzbaum prevail on appeal, the United States’
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  motion would be moot. Accordingly, the United States’ motion seeking a repatriation order should
  be denied, or at least abated pending the results of Mr. Schwarzbaum’s appeal.
         Dated: June 17, 2021                 HOLLAND & KNIGHT LLP

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 17, 2021, I electronically filed the foregoing document

  with the clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on counsel of record identified via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                              /s/ Jose A. Casal
                                              Jose A. Casal




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